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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                HOT SPRINGS DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                Case No 6:22-cr-60018-001

GARRICK D. ALLMON                                                                 DEFENDANT

                                            ORDER

       Before the Court is the Motion to Modify Conditions of Release filed herein by the

Defendant.   ECF No. 22.       The Government has responded and objects to the proposed

modification. ECF No. 24. The Motion was referred to the undersigned on March 13, 2023. ECF

No. 23. No hearing is necessary in this matter.

       Defendant was released on pretrial supervision on October 12, 2022. His conditions of

release included an employment requirement and the location restriction program of home

detention with GPS location monitoring. ECF No. 16. The Defendant has requested he be allowed

to provide his supervising United States Probation Officer (USPO) 24-48 hour notice of his

proposed work schedule as a truck driver. Currently the USPO requires a one week notice of

Defendants upcoming employment itinerary. Defendant asserts this one week notice makes his

employment difficult as his schedule as truck driver requires much shorter notice periods than one

week for scheduled pick up and delivery times. The USPO indicates that anything other than the

one-week notice will require a significant alteration to the Court’s location restriction program.

Based on Defendant’s prior criminal history and current charges, the Court finds the current

location restriction condition of release to be appropriate to assure the safety of the community.

Accordingly, Defendant’s Motion should be denied.




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      IT IS THEREFORE ORDERED Defendant’s Motion to Modify Conditions of Release

filed herein by the Defendant (ECF No. 22) is DENIED.

      SO ORDERED this 23RD day of March 2023.

                                                         /s/Barry A. Bryant
                                                        HON. BARRY A. BRYANT
                                                        U.S. MAGISTRATE JUDGE




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